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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION


YUJING ZHANG,

             Petitioner,

v.                                              Case No.: 2:20-cv-876-JLB-MRM

SECURITY DEPARTMENT, GLADES
COUNTY JAIL, and WARDEN,
GLADES COUNTY JAIL,

           Respondents.
__________________________________/

                     RESPONSE TO AMENDED PETITION

      Pursuant to the Court’s February 5, 2021 Order (Doc. 10), the Respondents

file this response to the Amended Petition for Writ of Habeas Corpus. In her

Amended Petition, Yujing Zhang appears to argue that her continued detention

violates 28 U.S.C. § 1231(a)(6). (Doc. 8, ¶ 5). As explained below, Petitioner’s

claim fails because she has not provided good reason to believe there is no significant

likelihood of removal in the reasonably foreseeable future. Further, because

Petitioner has a valid passport and is scheduled for removal in the next eight weeks,

there is a significant likelihood of removal in the reasonably foreseeable future. As

such, the Amended Petition should be denied.

                                 Factual Background

      Petitioner, Yujing Zhang, is a native and citizen of China. See Exhibit A,

Record of Deportable/Inadmissible Alien (I-213). On or about March 28, 2019, she
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was admitted into the United States as a nonimmigrant visitor for business, with

authorization to remain until September 27, 2019. See id.

        On or about March 30, 2019, Petitioner was arrested for unlawful entry of a

restricted area and making false statements to a federal officer. See Exhibit B, United

States v. Zhang, 9:19-CR-80056-ALTMAN-001, Doc. 1 (S.D. Fla. Apr. 1, 2019).

Following Petitioner’s arrest, the Department of State revoked Petitioner’s visa

effective April 4, 2019. See Exhibit A. Petitioner was convicted of these offenses and

sentenced to eight months in federal prison for each count, running concurrently, and

two years of supervised release. See Exhibit C, United States v. Zhang, 9:19-CR-80056-

ALTMAN-001, Doc. 82 (S.D. Fla. Nov. 26, 2019).

        Upon completion of her sentence, Petitioner’s custody transferred to ICE on

December 4, 2019. Ex. D, Declaration of Yolanda Harrison, ¶ 8. She is detained at

the Glades County Detention Center in Moore Haven, Florida. 1 See Amended

Petition (Doc. 8), ¶ 2(a).

        On or about December 4, 2019, Petitioner was served with a Notice to Appear,

charging her with removability under 8 U.S.C. §§ 1227(a)(1)(B) (visa revocation after



1 A writ of habeas corpus must “be directed to the person having custody of the person detained.”
28 USC § 2243. In cases involving present physical confinement, the Supreme Court reaffirmed in
Rumsfeld v. Padilla, 542 U.S. 426 (2004), that “the immediate custodian, not a supervisory official
who exercises legal control, is the proper respondent.” Rumsfeld v. Padilla, 542 U.S. 426, 439 (2004).

Since Petitioner is currently detained at Glades, her immediate custodian is Sheriff David Hardin,
Warden of the Glades County Detention Center. Accordingly, the proper Respondent in the
instant case is Sheriff Hardin, in his official capacity, and all other respondents should be dismissed.

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admission) and 1227(a)(2)(A)(i) (conviction for a crime involving moral turpitude

within five years of admission for which a sentence of one year or longer may be

imposed). See Exhibit E, Notice to Appear. On or about December 20, 2019, the

Immigration Judge denied Petitioner’s request for bond, finding her to be flight risk

and danger to the community.       See Exhibit F, Bond Order.       On the same day,

Petitioner was also ordered removed to China.        See Exhibit G, Removal Order.

While Petitioner reserved her right to appeal the removal order to the Board of

Immigration Appeals, she failed to file a notice of appeal, and the removal order

became final on January 21, 2020, when the time allotted to file an appeal expired.

See 8 C.F.R. 1241.1(c); Ex. D, ¶ 10.

      Since the removal order became final, ERO has actively pursued execution of

the removal order, but removal efforts have been hampered by the pandemic and the

global cancellation of air travel. In the interim, Petitioner’s custody has been

reviewed in accordance with 8 C.F.R. § 241.4, and Petitioner has been served with

decisions to continue detention on May, 11, 2020; November, 11, 2020; and March

17, 2021. See Exhibit H, Decisions to Continue Detention. More importantly,

flights between China and the United States have resumed, and ICE expects

Petitioner’s removal to China will occur within the next eight weeks. See Exhibit D,

¶¶ 13, 16.




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                                            ARGUMENT

         Following the entry of a final order of removal, ICE has 90 days to remove an

alien. See 8 U.S.C. § 1231(a)(1)(A). 2 Detention is mandatory during this “removal

period.” Id. § 1231(a)(2). After the removal period expires, ICE is authorized to

continue detaining certain aliens who, like Petitioner, have been found removable

under 8 U.S.C. § 1227(a)(2). 3 See 8 U.S.C. § 1231(a)(6). In Zadvydas v. Davis, the

Supreme Court held that continued detention under § 1231(a)(6) is presumptively

reasonable for an additional three months—180 days total. See 533 U.S. 678, 701

(2001).

         Following the conclusion of that presumptively reasonable 180-day period, a



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    The removal period commences on the latest of the following:

         (i) The date the order of removal becomes administratively final.
         (ii) If the removal order is judicially reviewed and if a court orders a stay of the
         removal of the alien, the date of the court’s final order.
         (iii) If the alien is detained or confined (except under an immigration process), the
         date the alien is released from detention or confinement.

8 U.S.C. § 1231(a)(1)(B). Under 8 C.F.R. § 1241.1(c), an order of removal becomes final “[u]pon
expiration of the time allotted for an appeal if the respondent does not file an appeal within that
time.” 8 C.F.R. § 1241.1(c).
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  8 U.S.C. § 1227(a)(2)(A)(i) applies to aliens who have been convicted of “a crime involving moral
turpitude . . . within five years . . . after the date of admission” and have been “convicted of a crime
for which a sentence of one year or longer may be imposed.” Petitioner was convicted of making
false statements to a federal officer in violation of 18 U.S.C. § 1001(a)(2), a crime punishable by not
more than 5 years in prison. See Ex. C; 18 U.S.C. § 1001(a). Petitioner does not argue her crime
fails to qualify as a crime of moral turpitude, but any such argument would likely fail. The
Eleventh Circuit has noted that “[g]enerally, a crime involving dishonesty or false statement is
considered to be one involving moral turpitude.” Itani v. Ashcroft, 298 F.3d 1213, 1215 (11th Cir.
2002).

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detainee may file a habeas petition challenging her continued detention. However,

aliens who remain in custody after the expiration of the six-month period are not

necessarily entitled to relief. “To the contrary, an alien may be held in confinement

until it has been determined that there is no significant likelihood of removal in the

reasonably foreseeable future.” Zadvydas v. Davis, 533 U.S. at 701. Thus, at the

conclusion of this 180-day period, an alien who challenges his continued detention

“must provide evidence of a good reason to believe that there is no significant

likelihood of removal in the reasonably foreseeable future.” Akinwale, 287 F.3d at

1050, 1052 (11th Cir. 2002) (per curiam). Courts within the Eleventh Circuit have

interpreted this to mean that petitioners challenging their continued detention under

Zadvydas should present evidence of “particular individual barriers” to their removal.

See Fahim v. Ashcroft, 227 F. Supp. 2d 1359, 1366 (N.D. Ga. 2002). Mere evidence

of delay, without more, does not show that removal will not occur in the reasonably

foreseeable future. Id. (“[T]he mere fact that the Egyptian government has taken its

time in responding” to a removal request was insufficient to show it would not do so

in the future); Linton v. Holder, No. 10–20145–Civ–LENARD, 2010 WL 4810842, at

*4 (S.D. Fla. Oct. 4, 2010) (recognizing that evidence of delay was not enough to

justify release even after six months).

      Once a petitioner provides good reason to believe that there is no significant

likelihood of removal in the reasonably foreseeable future, “the Government must


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respond with evidence sufficient to rebut that showing.” Zadvydas, 533 U.S. at 701.

The government can meet this burden by showing that a petitioner has been

previously scheduled for removal flights and the cause of delay was related to

COVID-19. See Guilarte v. Barr, 2020 WL 8084169, at *4 (N.D. Fla. Dec. 3, 2020)

(noting that flight restrictions caused by COVID-19 “do not mean . . . that Petitioner

is being held in ‘indefinite detention’”), report and recommendation adopted at 2021

WL 75763 (N.D. Fla. Jan. 8, 2021); see also Jimenez-Pabon v. Barr, 2020 WL 6293637,

at * 3 (N.D. Fla. Sept. 30, 2020) (finding that removal was significantly likely to

occur in the reasonably foreseeable future because COVID-related “travel restrictions

were due to be lifted and Petitioner could be rescheduled” for a removal flight),

report and recommendation adopted at 2020 WL 6287480 (N.D. Fla. Oct. 27, 2020).

      Courts have taken a similar approach when removal has been delayed by

natural disasters such as hurricanes. For example, in Chery v. Attorney General of the

United States, a petitioner’s removal flight to Haiti was delayed after ICE suspended

removals to Haiti following several severe hurricanes. 2009 WL 2009 151104, at * 1

(M.D. Fla. Jan. 21, 2009). The court held the Government met its burden under

Zadvydas based on the showing that (1) the suspension had been lifted, (2) removal

flights were being arranged, and (3) travel documents for the petitioner had been

requested. Id. at *2-3.




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       Here, Petitioner has failed to provide any evidence that there is good reason to

believe that there is no significant likelihood of removal in the reasonably foreseeable

future. Moreover, assuming Petitioner has made the necessary showing, sufficient

evidence exists to rebut her argument.

       First, Petitioner has failed to meet her burden under Zadvydas because she has

not provided any reason to believe there is no significant likelihood of removal in the

reasonably foreseeable future. Indeed, the Amended Petition is completely silent as

to Petitioner’s prospects of removal. On that basis alone, the Amended Petition

should be denied. See Akinwale, 287 F.3d at 1052.

       Second, even if Petitioner had carried her burden under Zadvydas, evidence in

the record establishes removal is significantly likely to occur in the reasonably

foreseeable future. Petitioner has a valid passport. Ex. D, ¶ 16. And ICE has

resumed removals to China as of May 13, 2020. Ex. D, ¶ 13. Although flight

cancellations and China’s COVID restrictions previously caused Petitioner’s removal

date to be rescheduled, ICE nevertheless expects to complete Petitioner’s removal in

the next eight weeks. See Ex. D, ¶ 16. As such, Petitioner’s removal is significantly

likely in the reasonably foreseeable future. See Guilarte v. Barr, 2020 WL 8084169, at

*4; Jimenez-Pabon v. Barr, 2020 WL 6293637, at * 3; Chery, 2009 WL 2009 151104, at

* 1.




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                                    Conclusion

     For the reasons stated above, the Amended Petition should be denied.



Dated: March 22, 2021

                                      Respectfully submitted,

                                      KARIN HOPPMANN
                                      Acting United States Attorney

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                            CERTIFICATE OF SERVICE

          I hereby certify that on March 22, 2021, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system which will

    send notice electronically and/or via certified mail to:



    Yujing Zhang
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    P.O. Box 39
    Moore Haven, FL 33471




                                          /s/David P. Sullivan
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